         Case 1:11-cv-03570-ODE Document 6 Filed 11/22/11 Page 1 of 5




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION
                             IN ADMIRALTY

MSC MEDITERRANEAN SHIPPING
COMPANY, S.A.,

        Plaintiff,                               CIVIL ACTION
                                                 FILE NO.: 1:11-cv-3570-ODE
v.

WALL STREET SYSTEMS, INC.,

        Defendant.

       DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS
             CORPORATE DISCLOSURE STATEMENT

                                            1.

      The undersigned counsel of record for Defendant to this action certify that

the following is a full and complete list of all parties in this action:

      (a)     MSC Mediterranean Shipping Company, S.A., Plaintiff;

      (b)     Wall Street Systems, Inc., Defendant.

                                                  2.

      The undersigned further certify that the following is a complete list of all

other persons, associations of persons, firms, partnerships, or corporations

(including those related to a party as a subsidiary, conglomerate, affiliate or parent


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         Case 1:11-cv-03570-ODE Document 6 Filed 11/22/11 Page 2 of 5




corporation) having either a financial interest in or other interest which could be

substantially affected by the outcome of this particular case:

      Travelers Property Casualty Company of America insures Defendant

with respect to the subject cargo loss.

                                          3.

      The undersigned further certify that the following is a full and complete list

of all persons serving as attorneys for the parties in this proceeding:

Counsel for Plaintiff:           Robert R. Ambler, Jr., Esq.
                                 John G. Perry, Esq.
                                 Womble, Carlyle, Sandridge & Rice, PLLC
                                 271 17th Street, NW
                                 Suite 2400
                                 Atlanta, GA 30363
                                 (404) 879-2441
                                 rambler@wcsr.com
                                 joperry@wcsr.com

                                 And

                                 Gordon D. Schreck, Esq.
                                 Womble, Carlyle, Sandridge & Rice, PLLC
                                 Five Exchange Street
                                 P.O. Box 999
                                 Charleston, SC 29402
                                 (843) 720-4605
                                 gschreck@wcsr.com

Counsel for Defendant:           Scott W. McMickle, Esq.
                                 McMickle, Kurey & Branch, LLP
                                 178 S. Main Street, Suite 225
                                 Alpharetta, Georgia 30009
                                           2
  Case 1:11-cv-03570-ODE Document 6 Filed 11/22/11 Page 3 of 5




                        Telephone: (678) 824-7800
                        Email: swm@mkblawfirm.com


Submitted this 22nd day of November 2011.



                              /s/SCOTT W. MCMICKLE
                              Georgia Bar No.: 497779
                              For the Firm
                              Attorney for Wall Street Systems, Inc.
                              MCMICKLE, KUREY & BRANCH, LLP
                              178 South Main Street, Suite 225
                              Alpharetta, GA 30009
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                                3
         Case 1:11-cv-03570-ODE Document 6 Filed 11/22/11 Page 4 of 5




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                            IN ADMIRALTY

MSC MEDITERRANEAN SHIPPING
 COMPANY, S.A.,

       Plaintiff,                             CIVIL ACTION
                                              FILE NO.: 1:11-cv-3570-ODE
v.

WALL STREET SYSTEMS, INC.,

       Defendant.

                          CERTIFICATE OF SERVICE

      I hereby certify that on November 22, 2011, I electronically filed the

foregoing DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS

AND CORPORATE DISCLOSURE STATEMENT, with the Clerk of Court

using the CM/ECF system which will automatically send email notification of such

filing to the following attorneys of records:

    Robert R. Ambler, Jr., Esq.                    Gordon D. Schreck, Esq.
       John G. Perry, Esq.                      Womble, Carlyle, Sandridge & Rice,
 Womble, Carlyle, Sandridge & Rice,                          PLLC
              PLLC                                   Five Exchange Street
              th
       271 17 Street, NW                                 P.O. Box 999
            Suite 2400                               Charleston, SC 29402
        Atlanta, GA 30363




                                          4
       Case 1:11-cv-03570-ODE Document 6 Filed 11/22/11 Page 5 of 5




                                  /s/SCOTT W. MCMICKLE
                                  Georgia Bar No.: 497779
                                  For the Firm


THIS IS TO CERTIFY that, pursuant to LR 5.1B, NDGa., the above document
was prepared in Times New Roman, 14 pt.

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